The defendant has appealed to this court from a judgment convicting him of the crime of an assault with intent to commit rape upon the body of one Frances Lee, a female child under the age of sixteen years. On his appeal, he challenges the sufficiency of the indictment on three grounds, viz: First, that it fails to allege the age of the defendant; second, that it fails to allege that the person upon whom the averred assault was made was under the age of sixteen years; and, third, that it fails to allege that that person was unmarried.
The statute defines the crime of rape in the following language:
"If any person over the age of sixteen years shall carnally know any female child under the age of sixteen years, or any person shall forcibly ravish any female, such person shall be deemed guilty of rape, and upon conviction thereof shall be punished * * *": Oregon Code 1930, § 14-220.
The indictment returned in this case, in preferring a criminal charge against the defendant, alleged that —
"The said Lynn Nesmith, on the second day of July, 1930, in the county of Coos and state of Oregon then and there being, did then and there unlawfully and feloniously assault one Frances Lee, a female child of the age of fifteen years, with intent then and there to have sexual intercourse and carnally know her, the said Frances Lee * * *."
The defendant asserts that the indictment does not state facts sufficient to constitute a crime.
It is a general rule that an indictment is sufficient when it alleges acts constituting the crime charged in the words of the statute defining it. This is essentially true when the statute contains all the elements of the *Page 595 
offense: State v. Bailey, 115 Or. 428 (236 P. 1053). Under Oregon Code 1930, § 13-714, an indictment is sufficient when it can be understood therefrom —
"1. That it is entitled in a court having authority to receive it * * *;
"2. That it was found by a grand jury of the county in which the court was held;
"3. That the defendant is named * * *;
"4. That the crime was committed within the jurisdiction of the court;
"5. That the crime was committed at some time prior to the finding of the indictment, and within the time limited by law for the commencement of an action therefor;
"6. That the act or omission charged as the crime is clearly and distinctly set forth * * *;
"7. That the act or omission charged as the crime is stated with such a degree of certainty as to enable the court to pronounce judgment, upon a conviction, according to the right of the case."
It is manifest that, when an indictment complies with the foregoing provisions of our Code, the constitutional guaranty of the defendant "to demand the nature and cause of the accusation against him" has been fully met.
To the first objection, that the indictment does not state the age of the defendant, we answer: For the last thirty years it has been a rule of pleading in this state that it is unnecessary to allege the age of the defendant in an indictment under a statute like section 14-220, Oregon Code 1930. We refer to the leading case of State v. Knighten, 39 Or. 63 (64 P. 866, 87 Am. St. Rep. 647). The opinion in that case was rendered by *Page 596 
Mr. Chief Justice R.S. BEAN, and is instructive and illuminating. In speaking for the court in that case, the learned justice wrote, among other things:
"At common law, a boy under fourteen years of age was conclusively presumed to be physically incapable of committing the crime of rape, but it was never held that it was necessary to allege the age of the defendant in an indictment for that crime: 16 Am.  Eng. Ency. Law [1st Ed.] 315; Commonwealth v. Scannel, 11 Cush. 547; Sutton v. People, 145 Ill. 279 (34 N.E. 420);State v. Ward, 35 Minn. 182 (28 N W. 192). Nor is it necessary under the statute. If the defendant was below the requisite age, it is a matter of defense."
In addition to the foregoing adjudications in support of his holding, the justice cites Bishop, Statutory Crimes (2d Ed.), § 482. This opinion also cites with approval and quotes from the case of People v. Ah Yek, 29 Cal. 575, where it was held that an indictment silent as to the age of the defendant was good, and where Mr. Justice Sawyer, speaking for the California court, said:
"It does not appear upon the face of the indictment that defendant was under fourteen years of age, and we see no better reason for averring that he is over fourteen than in any other criminal case for averring that the party charged is of such an age as to render him capable in law of committing the crime. His capacity to commit the crime is as much an element in the crime in one case as in the other."
So, too, under a statute like our own, the Supreme Court of Vermont, in State v. Sullivan, 68 Vt. 540 (35 A. 479), held that it was not necessary to allege in the indictment the age of the defendant, but that if he was under sixteen years of age it was a mere matter of defense. *Page 597 
Further comment with relation to this point we deem unnecessary.
We now come to the proposition that it is essential to the validity of the indictment that it allege that the person upon whom the alleged assault is made is under the age of sixteen years. The indictment does aver that the alleged victim was, at the time of the commission of the offense, under the age of sixteen years. In plain language, it asserts that Frances Lee was "a female child of the age of fifteen years"; and this allegation is equivalent to saying that she was under sixteen years of age. It is a general rule in criminal procedure that "any allegation that the female was below the age of consent is sufficient; and it is sufficient to allege that she was under the age specified in the statute, without specifically alleging her age; or to allege her age as below an age lower than that specified in the statute; or to allege her age specifically, without any general averment that such age was under the specified age of consent; or to allege both her age and that it was below an age lower than the age specified in the statute; or to allege both her age and that it was below the specified statutory age": 52 C.J. 1041.
The third objection to the indictment arises from the absence of any allegation to the effect that the alleged victim was not the wife of the defendant. In view of our statute defining the crime of rape, and the previous decisions of this court, the question of the sufficiency of an indictment without any allegation that the alleged victim is not the wife of the defendant is settled, and settled according to law. See State v.Edy, 117 Or. 430 (244 P. 538), and cases there cited. See, also,State v. Gauthier, 113 Or. 297 (231 P. 141); *Page 598 State v. Hilton, 119 Or. 441 (249 P. 1103). In some jurisdictions, rape is defined as sexual intercourse accomplished with a female not the wife of the perpetrator. In such jurisdiction, it is proper to negative the relationship of husband and wife between the parties. See 1 Wharton's Criminal Law (11th Ed.), § 741, and cases cited in the note; 22 R.C.L., § 32, "Rape"; 17 Ency. Pl.  Pr., 651; 33 Cyc. 1439, 1440. See, also, Form No. 7, "Indictment for Rape," 1 Oregon Code 1930, p. 1493.
The defendant further makes the proposition of law that an erroneous rule should be overruled. With this proposition we are in hearty accord. However, from a consideration of the matters hereinabove set out, it is apparent that the indictment in the case at issue is a valid one.
This cause is affirmed.
BEAN, C.J., BELT and CAMPBELL, JJ., concur. *Page 599 